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EXHIBIT H

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Videotaped Deposition of Kenneth Wong, M.D.
In Re: Xarelto (RIVAROXABAN)

Page 2 of 13

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ATTORNEYS FOR THE

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Videotaped Deposition of Kenneth Wong, M.D,
In Re: Xarelto (RIVAROXABAN)

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Videotaped Deposition of Kenneth Wong, M.D.
In Re: Xarelto (RIVAROXABAN)

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Videotaped Deposition of Kenneth Wong, M.D.
In Re: Xarelto (RIVAROXABAN)

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Videotaped Deposition of Kenneth Wong, M.D.

Xarelto (RIVAROXABAN)

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EXHIBIT I

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO MDL No.: 2592
(RIVAROXABAN) PRODUCTS

LIABILITY LITIGATION

Section: L
Judge Eldon E. Fallon
Mag. Judge North

JOSEPH ORR, JR., as
lawful surviving 2115-cv-03708

spouse of SHARYN ORR

PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

Videotaped Deposition of KIMBERLY ORR DeAGANO,
taken on Thursday, September 15, 2016, in the
office of Capitelli & Wicker, Inc., 1100 Poydras
Street, Suite 2950, New Orleans, Louisiana

70163-2950, commencing at 8:30 a.m.

Reported by:

AURORA M. PERRIEN

CERTIFIED COURT REPORTER
REGISTERED PROFESSIONAL REPORTER

Golkow Technologies, Inc. Page 1

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APPEARANCES
REPRESENTING JOSEPH ORR, JR., AS LAWFUL SURVIVING
SPOUSE OF SHARYN ORR:

NO

CAPITELLI & WICKER, INC.
% BY: THOMAS C. WICKER, III, ESQ.
1100 Poydras Street, Suite 2950
5 New Orleans, Louisiana 70163-2950
2 504.582.2425
Tcew@capitelliandwicker.com

oO ~71

REPRESENTING BAYER HEALTHCARE PHARMACEUTICALS,
INC., and BAYER PHARMA AG:

NELSON, MULLINS, RILEY & SCARBOROUGH, L.L.P.
10 BY: ERIC A. PAINE, ESQ.
1320 Main Street, 17th Floor
11 Columbia, South Carolina 29201
803.255.5518
12 Eric.paine@nelsonmullins.com

14 REPRESENTING JANSSEN PHARMACEUTICALS, INC.,
JANSSEN RESEARCH & DEVELOPMENT, L.L.C., JANSSEN
15 ORTHO, L.L.C.:

16
IRWIN, FRITCHIE, URQUHART & MOORE, L.L.C.

17 BY: JAMES B. IRWIN, ESQ., at times noted
400 Poydras Street, Suite 2700

18 New Orleans, Louisiana 70130-3280
504.310.2106

Lo Jirwin@irwinllc.com

20 IRWIN, FRITCHIE, URQUHART & MOORE, L.L.C.
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22 504.310.2106
Msossamon@irwinllc.com

23

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ALSO PRESENT:
25

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1 Object to form.

2 THE WITNESS:

3 Untrue? Not necessarily. Possibly
a misleading.

5 BY MR. PAINE:

6 Q. And what's your basis for believing that

7 it's possibly misleading?

8 A. Because of the statistics or the cases

9 that are coming out with issues with this drug

10 that -- when it says "rarely may lead to death," I
11 think that could be misleading and cause a patient
12 to not take it as seriously as is the potential

13 for death.

14 Q. When you -- excuse me.

15 When you just referred to statistics and
16 issues coming out, what were you referring to?

17 A. Seeing the commercials and knowing --

18 being aware that there are a lot of cases. As to
19 what the numbers are, I do not know. But there

20 are enough to -- for it to be advertised, which

21 means there's a lot of them.

22 Q. And let me be very clear on that. The

23 advertisements that you're referring to, are they
24 advertisements for lawsuits?

25 A. Correct.

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Q. Are you aware of any information other
than lawyers' advertisements for lawsuits
indicating or showing that the statistics or the
issues coming out that you referred to are in fact
accurate or part -- a real problem? And I --
that's probably a bad question.

When you said -- when you referred to the
statistics and the issues coming out, were you
referring to any source of information other than
the lawyer advertisements?

A. I would say yes insomuch as -- obviously
when I pointed out the concern I had when she
Switched to Xarelto, there was some information.
As to what that was, I do not recall. So I know I
-- there was a concern prior to her passing and us
pursuing the lawsuit.

Q. Can you be any more specific as to the
source of the statistics and issues that you
referred to?

A. No.

Just that at this point there have to be
statistics with, you know, thousands if not more
of people having taken this drug and having an
array of issues from the drug.

Q. But as far as what those statistics or

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CERTIFICATE

This certification is valid only for
a transcript accompanied by my original signature
and original seal on this page.

I, AURORA M. PERRIEN, Registered Professional
Reporter, Certified Court Reporter, in and for the
State of Louisiana, as the officer before whom
this testimony was taken, do hereby certify that
KIMBERLY ORR DeAGANO, after having been duly sworn
by me upon the authority of R.S. 37:2554, did
testify as hereinbefore set forth in the foregoing
257 pages; that this testimony was reported by me
in the stenotype reporting method, was prepared
and transcribed by me or under my personal
direction and supervision, and is a true and
correct transcript to the best of my ability and
understanding; that the transcript has been
prepared in compliance with transcript format
guidelines required by statute or by rules of the
board; and that I am informed about the complete
arrangement, financial or otherwise, with the
person or entity making arrangements for
deposition services; that I have acted in
compliance with the prohibition on contractual

relationships, as defined by Louisiana Code of

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Civil Procedure Article 1434 and in rules and
advisory opinions of the board; that I have no
actual knowledge of any prohibited employment or
contractual relationship, direct or indirect,
between a court reporting firm and any party
litigant in this matter nor is there any such
relationship between myself and a party litigant
in this matter. I am not related to counsel or to
the parties herein, nor am I otherwise interested

in the outcome of this matter.

AURORA M. PERRIEN, CCR, RPR

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